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8                             UNITED STATES DISTRICT COURT
9                          EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA, ) CASE No.: 1:12-cr-00035-AWI- BAM-1
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                               )
12                             ) STIPULATION AND ORDER REGARDING
               Plaintiff,      ) CONTINUANCE OF SENTENCING
13                             )
          v.                   )
14
                               )
15   BONNIE LYNN RECINOS,      )
                               )
16             Defendant.      )
17
                                          STIPULATION
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        Defendant by and through her counsel of record and Plaintiff by and through its
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     counsel of record, hereby stipulate as follows:
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        1.   By previous order, this matter was set for a sentencing hearing on Monday, July
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     27, 2015 at 10:00 a.m.
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        2.   By this stipulation, the parties now move to continue the sentencing date to
23   October 5, 2015 at 10:00 a.m.
24      3.   The parties agree and stipulate, and request that the Court grant the continuance
25   due to Ms. Recinos’ health issues.
26      4.   Due to extreme back pain issues, defendant Recinos’ Doctor will not let her

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     travel for 12 weeks. As she has many other medical issues that are also being treated at
     this time, she is requesting her sentencing be postponed until October 5, 2015.
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1     IT IS SO STIPULATED:
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3    DATED:         July 16, 2015

4                                    Respectfully submitted,

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6
                                     s/s Barbara Hope O’Neill         .
7                                    BARBARA HOPE O’NEILL,
                                     Attorney for Bonnie Lynn Recinos
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     DATED:         July 16, 2015    s/s Henry Z. Carbajal, III           .
11                                   Henry Z. Carbajal, III
                                     Assistant United States Attorney
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14                                  ORDER
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     IT IS SO ORDERED.
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17   Dated:   July 16, 2015
                                       SENIOR DISTRICT JUDGE
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